Case 2:23-cv-02000-WSS   Document 11-14   Filed 11/20/23   Page 1 of 15




            EXHIBIT N
         Mesiti Declaration
Infringing Product Type 2 Webpages
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        First Webpage Showing Sale of Infringing
                    Product Type 2
                                Case 2:23-cv-02000-WSS                                                                                                         Document 11-14                                                                 Filed 11/20/23                                                 Page 3 of 15



  Skip to main content   Delivering to Albany 12201
                                                              All
                                                                                                                                                                                                                                                                                                                                         Hello, sign in           Returns            0
                         Update location                                                                                                                                                                                                                                                                                     EN          Account & Lists          & Orders               Cart

      All    Holiday Deals     Medical Care            Best Sellers       Amazon Basics                  Prime             Registry              New Releases          Today's Deals              Customer Service            Music       Whole Foods         Books      Fashion       Amazon Home                Pharmacy            Gift Cards               Join Prime today for deals

   Amazon Home               Shop by Room                              Discover                                      Shop by Style                                   Home Décor                                   Furniture                          Kitchen & Dining                           Bed & Bath                               Garden & Outdoor                   Home Improvement




                                                                                                                                                                                                                                                                                                                                                                                    Sponsored
                                Home & Kitchen › Storage & Organization           ›   Home Storage Hooks         ›    Utility Hooks


                                                                                                                                                                             UFURMATE Purse Hanger for Closet, 12Pcs Stainless
                                                                                                                                                                             Steel Unique Twist Design Bags Hanger Heavy Duty                                                                                Enjoy fast, FREE delivery,
                                                                                                                                                                                                                                                                                                             exclusive deals and award-
                                                                                                                                                                             S Hooks for Hanging Bags, Handbags, Belts, Scarves,                                                                             winning movies & TV shows
                                                                                                                                                                             Hats (Silver)                                                                                                                   with Prime
                                                                                                                                                                             Brand: UFURMATE                                                                                                                 Try Prime and start saving today
                                                                                                                                                                                                                                                                                                             with Fast, FREE Delivery

                                                                                                                                                                             $
                                                                                                                                                                                 13   09     (   $1.09 / Count)
                                                                                                                                                                                                                                                                                                              $
                                                                                                                                                                                                                                                                                                                  13   09 ( $1.09 / Count)
                                                                                                                                                                             Get Fast, Free Shipping with Amazon Prime
                                                                                                                                                                                                                                                                                                              Get Fast, Free Shipping with
                                                                                                                                                                             FREE Returns
                                                                                                                                                                                                                                                                                                              Amazon Prime
                                                                                                                                                                                      Best price                                                                                                              FREE Returns
                                                                                                                                                                                                                                                                                                              FREE delivery Friday, November
                                                                                                                                                                             Get a $60 gift card instantly: Pay $0.00 $13.09 upon approval for the Amazon Store Card.                                         24 on orders shipped by
                                                                                                                                                                             Find out how                                                                                                                     Amazon over $35
                                                                                                                                                                             Brand                                 UFURMATE                                                                                   Or fastest delivery Thursday,
                                                                                                                                                                             Material                              Stainless Steel, Rubber                                                                    November 16 Order within 11
                                                                                                                                                                                                                                                                                                                                  .


                                                                                                                                                                                                                                                                                                              hrs 27 mins
                                                                                                                                                                             Product Dimensions                    4.53"W x 1.81"H
                                                                                                                                                                                                                                                                                                                   Delivering to Albany 12201 -
                                                                                                                                                                             Special Feature                       Heavy Duty
                                                                            Roll over image to zoom in                                                                                                                                                                                                             Update location
                                                                                                                                                                             Number of Pieces                      12
                                                                                                                                                                                                                                                                                                              Only 1 left in stock - order
                                                                                                                                                                                                                                                                                                              soon.
Infringing Product
                                                                                                                                                                             About this item
                                                                                                                                                                               【Durable Material】The hook is made of high-quality stainless steel, which is strong                                                           Add to Cart
                                                                                                                                                                               and durable, not easy to rust and break, and has a long service life.
      Type 2                                                                                                                                                                   【Twisted Design】The twisted design can adjust the hanging angle of your handbag
                                                                                                                                                                               in the wardrobe, which can make better use of the storage space of the wardrobe.
                                                                                                                                                                                                                                                                                                                                Buy Now

                                                                                                                                                                                                                                                                                                              Ships from     Amazon
                                                                                                                                                                               【Exquisite Workmanship】The surface of the hook is smooth and both ends of the
                                                                                                                                                                                                                                                                                                              Sold by        UFURMATE US
                                                                                                                                                                               hook are wrapped with rubber sleeves for safe use.
                                                                                                                                                                                                                                                                                                              Returns        Returnable until Jan 31,
                                                                                                                                                                               【Strong Load Bearing】A single hook can bear a maximum weight of about 10 kg,                                                                  2024
                                                                                                                                                                               which can easily hang your backpack or other items.                                                                            Payment        Secure transaction
                                                                                                                                                                               【Wide Application】Great for hanging wallets, belts, handbags, scarves, towels,
                                                                                                                                                                               potted plants, pots, mugs, wind chimes, bird feeders, indoor and outdoor use.                                                       Add a gift receipt for easy
                                                                                                                                                                                                                                                                                                                   returns


                                                                                                                                                                                                                                                                                                                  Add to List




                                                                                                                                                                                                                                                                                                              New (2) from
                                                                                                                                                                                                                                                                                                              $
                                                                                                                                                                                                                                                                                                                13 09 FREE Shipping on
                                                                                                                                                                                 Sponsored                                                                                                                    orders over $35.00 shipped by
                                                                                                                                                                                                                                                                                                              Amazon.

                                Buy         it with
                                                                                                                                                                                                                                                                                                                   Other Sellers on Amazon

                                                                                                                                                                                                                                                                                                             $18.69 ($1.56 / Count)            Add to Cart
                                                                                                                                                                                                                      Total price: $38.03                                                                    & FREE Shipping
                                                                                +                                                            +                                                                            Add all 3 to Cart                                                                  Sold by: UFURMATE US



                                                                                                                                                                                                             Some of these items ship sooner than the
                                                                                                                                                                                                             others.
                                 This item: UFURMATE Purse                            Purdaz Corner Shower Caddy,3                                FYY Over the Door Hooks, 4 Pack                            Show details
                                 Hanger for Closet, 12Pcs Stainless                   Pack Adhesive Large Caddy with                              Hangers Hooks with Rubber
                                 Steel Unique Twist Design Bags                       Movable 6 Hooks No Drilling                                 Prevent Scratches Heavy Duty
                                 $
                                     13 09 ($1.09/Count)                              $
                                                                                          16 99                                                   $
                                                                                                                                                      7 95 ($1.99/Count)

                                Based on your recent shopping trends                                                                                                                                                                                                                         Page 1 of 9



                                                                                                                                                                                                                                                                                                                                                   Sponsored




                                              BCISIWOS Purse Hanger                       Fitnice 10 Pack Purse                      SAVITA 10pcs Purse                      12 Pack Purse Hangers                        HiGift 8 Pack Purse                 12 Pack Purse Hanger
                                              for Closet, 10 Pack                         Hanger for Closet, S                       Hooks for Closet, Heavy                 for Closet,Unique                            Hanger for Closet,                  for Closet, Twist Design
                                              Handbag Hanger                              Hooks for Hanging                          Duty Black S Hooks for                  Twisted Purse                                Unique Twist Design                 Bag Hanger Purse Hooks
                                               Organizer Unique  30    Twist              Twisted Purse Hooks                         Hanging Clothes in a                    Hooks,Black Closet Rod                       Bags Hanger 457     Hooks,          Closet Organizer,17 Large
                                               Design
                                                 Save 8%Bag Hanger Purse                  Heavy Duty S 184     Hooks                  Closet Handbags Twist                   S Hooks for Hanging                          Large    Size Closet Rod
                                                                                                                                                                                                                              Save 11%                         Closet
                                                                                                                                                                                                                                                                 Save 9%Rod S Hooks for
                                              $Hooks,    Large    Size Closet             Handbag
                                                                                             Amazon's Hanger
                                                                                                        Choice                                        70
                                                                                                                                      Design with Rubber                                      129
                                                                                                                                                                              Bags,Jeans,Purses,Bag                       $Hooks     for  Hanging             $Hanging     Bags,   Purses,
                                                6 . 99                                                              in                                                                                                       7 . 99                             9 . 99
                                               Rod Hooks                                                                             $Stopper                                $Hooks
                                               Typical: $7.59 for Hanging                 Utility Hooks Space Saving
                                                                                          Organizer                                              for Living Room
                                                                                                                                       11 . 99 ($1.20/Count)                   11 . 99with   Rubber
                                                                                                                                                                                         ($1.00/Count)                     Purses,
                                                                                                                                                                                                                           List: $8.99Handbags, Belts,         Handbags,
                                                                                                                                                                                                                                                               Typical: $10.99Belts, Hats,
                                               Purses, price
                                               Lowest    Handbags,
                                                                 in 30 days               $Closet
                                                                                            9 . 99 Rod    Hooks for
                                                                                                     ($1.00/Count)                    Kitchen
                                                                                                                                      Get        Bathroom
                                                                                                                                          it as soon         S
                                                                                                                                                     as Tuesday,              Stopper
                                                                                                                                                                              Get it as soon as Wednesday,                 Scarves, price
                                                                                                                                                                                                                           Lowest       Hats,Clothes,
                                                                                                                                                                                                                                              in 30 days       Plants, Pots
                                                                                                                                                                                                                                                               Lowest    price (Black)
                                                                                                                                                                                                                                                                                in 30 days
                                               Clothes,   Plant,as Sunday,
                                               Get it as soon                             Clothes,     Bags,as Monday,
                                                                                           Get it as soon       Plants,               Hooks21 Rod (Black)
                                                                                                                                      Nov                                    Nov 22                                        Pans
                                                                                                                                                                                                                           Get it and    Potsas Sunday,
                                                                                                                                                                                                                                   as soon      - Black
                                                                                                                                                                                                                                                              Get it as soon as Sunday,
                                               Pots(Black)
                                               Nov 19                                      Pots 20(Black)
                                                                                           Nov                                       FREE Shipping on orders over            FREE Shipping on orders over                 Nov 19                              Nov 19
                                              FREE Shipping on orders over                FREE Shipping on orders over               $35 shipped by Amazon                   $35 shipped by Amazon                        FREE Shipping on orders over        FREE Shipping on orders over
                                                                                                                                     Only 13 left in stock - order
                                              $35 shipped by Amazon                       $35 shipped by Amazon                      soon.                                                                                $35 shipped by Amazon               $35 shipped by Amazon



                                Overstock deals on Home                                              Storage Hooks Explore more in Outlet                                                                                                                                                                                                       Page 1 of 9
Case 2:23-cv-02000-WSS                                                                           Document 11-14                                               Filed 11/20/23                                       Page 4 of 15




                YourGift 30 Pack Heavy        MCZTO Wall Hooks                     Fashion&cool Towel             Ilyapa Espresso Coat             S Shaped Hooks Multi-           YES Time Double Prong           Franklin Brass KIN35-MB
                Duty S Hooks Black S          22lb(Max) Large                      Hooks, 2 Pack Matte            Rack Wall Mount with             Function Foldable Hook          Ceiling Hooks,6 Piece           Kinla Robe Hook, Matte
                Shaped Hooks Hanging          Adhesive Hooks 20                    Black SUS304 Stainless         Shelf - Wood Wall Mount          Set, 4.45 Inch Colorded         Under Shelf Coat Hooks          Black
                Hangers Hooks8,047   for      Packs, Transparent                   Steel Wall Mounted Coat        Coat Rack with Shelf, 5          Plastic Hanging Hook            Bathroom Hook                                     5
                Low   returnsBathroom,
                Kitchen,                      Reusable Seamless22                  Robe Clothes 61Hooks,          Metal Hooks -1,792for Hats,      Portable Utility  4 Hook        Bedroom Hook3 for                17% off   Deal
                Bedroom
                 50% off and       Office:
                              Overstock       Hooks,
                                                50% offWaterproof
                                                           Overstock and           Heavy
                                                                                     50% offDutyOverstock
                                                                                                   Robe           Coats,
                                                                                                                    20% offKitchen,  Bedroom,
                                                                                                                              Overstock            Clip
                                                                                                                                                     30% Hanger     Rack for
                                                                                                                                                            off Overstock          Hanging
                                                                                                                                                                                     50% off Cap,  Coat,
                                                                                                                                                                                              Overstock            $ 7 . 50
               $Pan,   Pot, Coat, Bag,
                 4 . 24 ($0.14/Count)
                                              Oilproof, Bathroom
                                              $ 6 . 49 ($0.65/Count)
                                                                                   Shower Towel Hanger
                                                                                   $
                                                                                                                  and More - Espresso
                                                                                                                  $
                                                                                                                                                   Indoor Outdoor Plants
                                                                                                                                                   $ 4 . 89
                                                                                                                                                                                   Clothes,Bag (White)
                                                                                                                                                                                   $ 5 . 49
               Plants(30
               Typical: $8.49
                                              Kitchen Heavy Duty Self              for4 . 99 ($2.50/Count)
                                                                                          Bathroom   Kitchen       27 19
                                                                                                                       .
                                                                                                                                                   Clothes Bathroom                                                List: $8.99
                                              List: $12.99                         Typical: $9.99                 List: $33.99                     Typical: $6.99                  Typical: $10.98                 Get it as soon as Sunday,
               Pack/Black/Small)
               Get it as soon as Monday,
                                              Adhesive     Hooks (Gold,            Living    Room Bedroom                                          Kitchen     Closet Office 4
                                              Get it as soon as Tuesday,           Get it as soon as Tuesday,     Get it as soon as Sunday,        Get it as soon as Wednesday,    Get it as soon as Monday,       Nov 19
               Nov 20
                                              20    Packs)                         Office                                                          Pack
                                              Nov 21                               Nov 28                         Nov 19                           Nov 22                          Nov 20                          FREE Shipping on orders over
               FREE Shipping on orders over   FREE Shipping on orders over         FREE Shipping on orders over   FREE Shipping on orders over     FREE Shipping on orders over    FREE Shipping on orders over    $35 shipped by Amazon
               $35 shipped by Amazon          $35 shipped by Amazon                $35 shipped by Amazon          $35 shipped by Amazon            $35 shipped by Amazon           $35 shipped by Amazon           11% Claimed
                                                                                   Only 5 left in stock - order   Only 17 left in stock - order    Only 16 left in stock - order   Only 19 left in stock - order




Videos
Help others learn more about this product by uploading a video!

 Upload your video




Looking for specific info?



Product Description

      High-Quality:

      The hook is made of high-quality stainless steel, which is strong and durable, not easy to rust and break, and has a long service life. The surface of the hook is smooth and has a black coating, and both ends of the hook are wrapped with
      rubber sleeves for safe use.

      Unique Design:

      The twisted design can adjust the hanging angle of your handbag in the wardrobe, which can make better use of the storage space of the wardrobe.

      Convenient & Practical:

      A single hook can bear a maximum weight of about 10 kg, which can easily hang your backpack or other items.

      Versatile:

      Great for hanging wallets, belts, handbags, scarves, towels, potted plants, pots, mugs, wind chimes, bird feeders, indoor and outdoor use.

      Specification:

      *Material: Stainess Steel

      *Size: 115*46mm

      *Package Content: 12 pcs S hooks

      *Weight: 279.6g

      *Color: Silver

      Note:

      Please allow 1-2mm error due to manual measurement.       If you   have any questions, please feel free to contact us, thank you very much for your understanding and cooperation!



Product information

    Brand                                                         UFURMATE                                                           Warranty & Support
    Material                                                      Stainless Steel, Rubber                                             Product Warranty: For warranty information about this product, please click here

    Product Dimensions                                            4.53"W x 1.81"H                                                    Feedback
    Special Feature                                               Heavy Duty                                                          Would you like to tell us about a lower price?
    Number of Pieces                                              12

    Number of Items                                               12

    Item Weight                                                   10.1 ounces

    Manufacturer                                                  UFURMATE

    ASIN                                                          B09YD1G97D

    Item model number                                             UF-HA0784-G-US

    Best Sellers Rank                                             #495,466 in Industrial & Scientific ( See Top 100 in
                                                                  Industrial & Scientific )
                                                                  #5,122 in Utility Hooks
                                                                  #7,934 in Industrial Hooks
                                                                  #229,122 in Hardware

    Date First Available                                          April 20, 2022




Important information
   To report an issue with this product, click here    .
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                                                                                                                                                                                                                        Sponsored

Similar brands on Amazon                                                                                                                                                                                                                                           Page 1 of 2
Sponsored


                 HOME DEPUTY                                                                           Rolly Hanger                                                                     Wiosi
                 Shop the Store on Amazon ›                                                            Shop the Store on Amazon   ›                                                     Shop the Store on Amazon    ›




                                      HOME DEPUTY 6 Pack Purse Organizers                                                Multipurpose Closet Hanger Organizer                                              Purse Hanger Organizer for Closet 3 Pack
                                      for Closet - 6 Bag Hooks - Silver - Purse                                          ROLLY HANGER Great Space Saver Cut                                                - Durable Luxury Acrylic Holder for
                                      Hangers for Closet 511 with Unique Twisted                                         Clutter in The 780 Closet Ideal Organizer for                                     Handbag Tote 449
                                                                                                                                                                                                                          Bag Satchel Backpack
                                      $Hook
                                        12 . 50Design   which
                                                  Typical:      Saves Space - Your
                                                            $13.50                                                       $Belts,
                                                                                                                           17 . 95Baseball   Hats, Ties, Scarves, Purses
                                                                                                                                     List: $20.00                                                          $Crossover
                                                                                                                                                                                                             29 . 99 - Holds Up to 66Lbs – Easy to
                                      Handbags Will Look Great in Your Closet                                            and Much More Versatile Hanger                                                    Clean, No Tools Required




Customer reviews                                                                   No customer reviews
5 star                                             0%
4 star                                             0%
3 star                                             0%
2 star                                             0%
1 star                                             0%

   How customer reviews and ratings work



Review this product
Share your thoughts with other customers

             Write a customer review




                                              Sponsored




Customers also viewed these products                                                                                                                                                                                                                               Page 1 of 7




             Fitnice 10 Pack Purse                   ESFUN 30 Pack Heavy               Yzerel 12Pcs S Hooks               FSAH 17 Pcs S Hooks for             MEILIDY S Hooks,                    Fadilo 6 Pack 6 Inch              GEZIDEA S Hooks
             Hanger for Closet, S                    Duty S Hooks Pan Pot              Hanging Safety Buckle -            Hanging Safety Buckle,              Reversible Black S                  White S Hook, Large               Stainless Steel Heavy
             Hooks for Hanging                       Holder Rack Hooks                 3.5 inch Heavy Duty S                              531 Steel S
                                                                                                                          3.5 Inch Stainless                  Shaped Hooks 3 Inch                 Vinyl Coated S Hooks              Duty S Hooks Anti Drop
             Twisted Purse Hooks                     Hanging Hangers S                 Hooks,Hanging Plants               Shaped
                                                                                                                            Amazon'sLocking
                                                                                                                                      Choice Hooks
                                                                                                                                                in            Small Heavy Duty                    with Rubber Stopper               for Kitchen,Work353
             Heavy Duty S Hooks                      Shaped Hooks for                  for Closet Hooks,                  for  Colleague
                                                                                                                          Utility Hooks    Dorm,              Stainless Steel S                   Non Slip Heavy2,800Duty S         Shop,Bathroom,Garden,
                                                                                                                                                                                                                                       Save 5%
             Handbag Hanger     184                  Kitchenware Pots  13,549          Clothes, Kitchen  315 Utensil,     Kitchen,                            Hanging Hooks107 for Pots
                                                                                                                            Save 42%Closet Rod                                                    Hook,    SteelChoice
                                                                                                                                                                                                    Amazon's       Iron Black
                                                                                                                                                                                                                          in        Wardrobe,Office,Perfect
                                                                                                                                                                                                                                    $ 9 . 49
            $Organizer       Space Saving           $Utensils    Clothes Bags         $Pots
                                                                                        6 . 12and($0.51/Fl
                                                                                                    Pans, Bags           $Plants   Pots Towels Bags,
              9 . 99 ($1.00/Count)                    9 . 99 ($0.33/Count)                                  Oz)                                              $Pans
                                                                                                                                                               9 . 99Cups Mugs Curtains           Rubber Coated
                                                                                                                                                                                                  Screw-In   Hooks Hooks            Rack $9.99
                                                                                                                           6 . 99 ($0.41/Count)                                                                                     Typical:
            Closet
            Get   it as Rod
                         soon Hooks   for
                               as Monday,           Towels
                                                    Get   it as Plants
                                                                soon as Sunday,       (Black)
                                                                                      Get   it as soon as Sunday,        Black                               Pantsit asPlants
                                                                                                                                                             Get         soon asTools  - 12
                                                                                                                                                                                  Sunday,        $for  Bracelets    Closet S
                                                                                                                                                                                                   7 . 99 ($1.33/Count)             Hooks,Small,12Pieces
                                                                                                                                                                                                                                    Lowest    price in 30 days
                                                                                                                         Typical: $11.99
            Clothes,
            Nov 20 Bags, Plants,                    Nov 19                            Nov 19                                                                 Pcs
                                                                                                                                                             Nov 19                               Hooks
                                                                                                                                                                                                  Get it as soon as Sunday,         Get it as soon as Tuesday,
                                                                                                                         Lowest price in 30 days
            Pots Shipping
            FREE     (Black) on orders over         FREE Shipping on orders over      FREE Shipping on orders over                                           FREE Shipping on orders over        Nov 19                             Nov 21
                                                                                                                         Get it as soon as Sunday,
            $35 shipped by Amazon                   $35 shipped by Amazon             $35 shipped by Amazon                                                  $35 shipped by Amazon               FREE Shipping on orders over       FREE Shipping on orders over
                                                                                                                         Nov 19
                                                                                                                         FREE Shipping on orders over                                            $35 shipped by Amazon              $35 shipped by Amazon
                                                                                                                         $35 shipped by Amazon




                                                                                                                                                                                               Sponsored
                             Case 2:23-cv-02000-WSS                                                                                    Document 11-14                                                             Filed 11/20/23                                                     Page 6 of 15



Best Sellers in Kitchen & Dining                                                                                                                                                                                                                                                                                                                           Page 1 of 6




        Stanley Quencher H2.0             Owala FreeSip Insulated                  Stanley IceFlow Stainless            Alpha Grillers Instant              Simple Modern 40 oz                      Vegetable Chopper, Pro                 Reynolds Kitchens Slow                  The Original Gorilla Grip         Simple Modern 30 oz
        FlowState Stainless Steel         Stainless Steel Water                    Steel Tumbler with                   Read Meat Thermometer               Tumbler with Handle                      Onion Chopper,                         Cooker Liners, Regular                  Heavy Duty Stainless              Tumbler with Handle
        Vacuum Insulated                  Bottle with Straw for                    Straw, Vacuum Insulated              for Grill and Cooking.              and Straw Lid Insulated
                                                                                                                                                                                 |                   Multifunctional 13 in 1                (Fits 3-8 Quarts), 6                    Steel Smooth Edge                 and Straw Lid Insulated
                                                                                                                                                                                                                                                                                                                                       |


        Tumbler with Lid and              Sports and Travel, BPA-                  Water Bottle for Home,               Best Waterproof  56,291
                                                                                                                                              Ultra         Cup Reusable Stainless                   Food Chopper,15,586 Kitchen            Count                                   Manual Hand Held Can              Cup Reusable Stainless
        Straw for Water,  30,514
                               Iced Tea                 26,933 Field
                                          Free, 24oz, Dreamy                       Office or Car, Reusable              Low returns
                                                                                                                        Fast  Thermometer with              Steel Water Bottle Travel                Vegetable     Slicerin Dicer
                                                                                                                                                                                                       #1 Best Seller                                         65,968                Opener With 10,076Soft Touch      Steel Water Bottle Travel
        or#1 Coffee,  Smoothie
              Best Seller   in Homeand&     #1 Best Seller in Travel &             Cup with Straw 18,907                  #1 Best Seller
                                                                                                                        Backlight          in Patio,
                                                                                                                                     & Calibration.         Mug Cupholder      23,957
                                                                                                                                                                                   Friendly      |   Cutter,Veggie
                                                                                                                                                                                                     Seasoning & SpiceChopper
                                                                                                                                                                                                                           Choppers           #1 Best Seller in Slow                Handle,     Rust Proof
                                                                                                                                                                                                                                                                                      #1 Best Seller    in Manual     Mug Cupholder     70 Friendly    |


        More                                                                       Leakproof   Flip                     Lawn & Garden
                                                                                                                        Digital   Food Probe for            Gifts   for Women Men                    With
        Kitchen                           To-Go Drinkware                          $ 35 . 00                                                                $ 29 . 99                                  50% 8offBlades,Carrot
                                                                                                                                                                                                                  Deal            and       Cookers                                 Oversized
                                                                                                                                                                                                                                                                                    Can Openers Handheld Easy         Gifts
                                                                                                                                                                                                                                                                                                                        20% for
                                                                                                                                                                                                                                                                                                                              off Women
                                                                                                                                                                                                                                                                                                                                   Deal     Him
        $ 35 . 00                         $ 24 . 97                                Get it as soon as Sunday,              15 . 99 Outdoor Grilling
                                                                                                                        $Kitchen,                           Him it Her
                                                                                                                                                            Get     as soonTrek
                                                                                                                                                                        |         Collection
                                                                                                                                                                              as Sunday,             Garlic Chopper With
                                                                                                                                                                                                     $ 17 . 08
                                                                                                                                                                                                                                            $ 3 . 48 ($0.58/Count)                  $Turn   Knob, Large Lid
                                                                                                                                                                                                                                                                                      13 . 99                         Her Trek Collection
                                                                                                                                                                                                                                                                                                                           |
                                                                                                                                                                                                                                                                                                                      $ 21 . 59
                                                                                                                                                                                                                                                                                                                                                |


        Get it as soon as Wednesday,      Get it as soon as Sunday,                Nov 19                               Get    as soon as Sunday,
                                                                                                                        and itBBQ!                            Almond
                                                                                                                                                            Nov
                                                                                                                                                            |    19       Birch                      Container     (Gray)                   Get it as soon as Sunday,               Openers,
                                                                                                                                                                                                                                                                                    Get          Black
                                                                                                                                                                                                                                                                                         it as soon as Sunday,        Sea   Glass Sage
                                                                                                                        Nov 19                                                                       List: $33.99                                                                                                     List: $26.99
        Nov 22                            Nov 19                                   FREE Shipping by Amazon                                                  FREE Shipping on orders over                                                    Nov 19                                  Nov 19
                                                                                                                        FREE Shipping on orders over                                                 Get it as soon as Sunday,
        FREE Shipping by Amazon           FREE Shipping on orders over                                                                                      $35 shipped by Amazon                                                           FREE Shipping on orders over            FREE Shipping on orders over
                                                                                                                        $35 shipped by Amazon                                                        Nov 19
                                          $35 shipped by Amazon                                                                                                                                                                             $35 shipped by Amazon                   $35 shipped by Amazon
                                                                                                                                                                                                     FREE Shipping on orders over
                                                                                                                                                                                                     $35 shipped by Amazon


Customers who viewed items in your browsing history also viewed                                                                                                                                                                                                                                                                                            Page 1 of 6




        12 Pack Purse Hanger               Purse Hanger Purse                      BESARME 15 Pack Purse                 Fitnice 10 Pack Purse               ZEDODIER 14 Pack Purse                   Myfolrena Purse Hangers               GEZIDEA Purse Hanger S                   Yzerel 12Pcs S Hooks              MEILIDY S Hooks,
        for Closet,Unique Twist            Organizer for Closet,S                  Hanger for Closet,                    Hanger for Closet, S                Hooks for Closet,                        Bag Hooks Closet- 12                  Hooks Twisted S Hooks                    Hanging Safety Buckle -           Reversible Black S
        Design Bag Hanger Purse            Hooks Twist Design Bag                  Unique Twist Design Bag               Hooks for Hanging                   Backpack Hanger Bag                      Pack Handbag Hanger                   Closet Rod Hooks for                     3.5 inch Heavy Duty S             Shaped Hooks 3 Inch
        Hooks, Large Size Closet           Hanger,Closet Rod                       Hanger Hooks, Purse                   Twisted Purse Hooks                 Holder, Closet                           Organizer Metal S                     Handbags,Bags,Clothes,P                  Hooks,Hanging Plants              Small Heavy Duty
        Rod Hooks for1,307   Hanging       Hooks for Hanging                       Organizer Hooks  314 for              Heavy Duty S Hooks                  Accessories Organizer S                  Hooks, Large Size Closet              ures,Hats,10Pack                         for Closet Hooks,                 Stainless Steel S
        Necklace
          Amazon's Bags,
                      Choice Purses,
                                 in Tie                       439
                                           Handbags,Purses,Belts,S                 Closet   Large
                                                                                     Amazon's       Closetin S
                                                                                                Choice                   Handbag Hanger    184               Hook for Hanging 100                     Rod Hooks for229Hanging               (Large&90Deg)                            Clothes, Kitchen  315 Utensil,    Hanging Hooks107 for Pots
        Handbags, Belts,
        Racks                             $carves,Hats,Clothes,Pots
                                            8 . 98 ($1.12/Count)                   Hooks Hooks
                                                                                   Utility  for Hanging                 $Organizer      Space Saving
                                                                                                                          9 . 99 ($1.00/Count)              $Purses,    Handbags, Bags,
                                                                                                                                                              7 . 99 ($0.57/Count)                   $Handbags,Clothes,
                                                                                                                                                                                                       9 . 99                                                 353                   $Pots
                                                                                                                                                                                                                                                                                      6 . 12and($0.51/Fl
                                                                                                                                                                                                                                                                                                  Pans, Bags
                                                                                                                                                                                                                                                                                                          Oz)         $Pans
                                                                                                                                                                                                                                                                                                                        9 . 99Cups Mugs Curtains
        Scarves,    Hats,Clothes,
        $ 9 . 69 ($0.81/Count)             and itPans.
                                           Get    as soon(8 asPack  Black)
                                                                Sunday,            Handbags      Purses
                                                                                   $ 9 . 99 ($0.67/Count)                Closet
                                                                                                                         Get it as Rod
                                                                                                                                    soon Hooks   for
                                                                                                                                          as Monday,         Belts,
                                                                                                                                                             Get it asScarves,  Hats,
                                                                                                                                                                        soon as Sunday,               Curtain,   Plant,as Sunday,
                                                                                                                                                                                                      Get it as soon       Pans and                                                  (Black)
                                                                                                                                                                                                                                                                                     Get it as soon as Sunday,         Pants
                                                                                                                                                                                                                                                                                                                       Get it asPlants
                                                                                                                                                                                                                                                                                                                                  soon asTools  - 12
                                                                                                                                                                                                                                                                                                                                           Sunday,
        Pans
        Get it and    Pots,
                as soon      Black
                         as Sunday,       Nov 19                                   Clothes(Black)
                                                                                   Get it as soon as Sunday,             Clothes,
                                                                                                                        Nov    20 Bags, Plants,              Clothes,
                                                                                                                                                            Nov    19 and Plant, Silver               Pots 19
                                                                                                                                                                                                     Nov                                                                            Nov 19                             Pcs 19
                                                                                                                                                                                                                                                                                                                       Nov
        Nov 19                            FREE Shipping on orders over             Nov 19                                Pots Shipping
                                                                                                                         FREE   (Black) on orders over      FREE Shipping on orders over             FREE Shipping on orders over                                                   FREE Shipping on orders over      FREE Shipping on orders over
        FREE Shipping on orders over      $35 shipped by Amazon                    FREE Shipping on orders over         $35 shipped by Amazon               $35 shipped by Amazon                    $35 shipped by Amazon                                                          $35 shipped by Amazon             $35 shipped by Amazon
        $35 shipped by Amazon                                                      $35 shipped by Amazon




                                                                                                                                                         See personalized recommendations
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                                                                             About Amazon                                  Supply to Amazon                                                                                                               Policies
                                                                                                                                                                                      Amazon Business Card
                                                                             Accessibility                                 Protect & Build Your                                                                                                           Amazon Prime
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                                                                                                                           Become an Affiliate                                        Credit Card Marketplace                                             Replacements
                                                                             Press Center
                                                                                                                           Become a Delivery Driver                                   Reload Your Balance                                                 Manage Your
                                                                             Investor Relations                                                                                                                                                           Content and Devices
                                                                                                                           Start a Package Delivery                                   Gift Cards
                                                                             Amazon Devices                                Business                                                                                                                       Your Recalls and
                                                                                                                                                                                      Amazon Currency Converter
                                                                             Amazon Science                                                                                                                                                               Product Safety Alerts
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                                                                                                                           Self-Publish with Us
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                                                                                                                           ›See More Ways to Make
                                                                                                                           Money




                                                                                                                                                                        English                      United States




                                                                             Amazon Music                      Amazon Ads              6pm                                    AbeBooks                     ACX                          Sell on Amazon                 Amazon
                                                                             Stream millions                   Reach                   Score deals                            Books, art                   Audiobook                    Start a Selling                Business
                                                                             of songs                          customers               on fashion brands                      & collectibles               Publishing                   Account                        Everything
                                                                                                               wherever                                                                                    Made Easy                                                   For
                                                                                                               they                                                                                                                                                    Your
                                                                                                               spend their                                                                                                                                             Business
                                                                                                               time

                                                                             Amp                               Amazon                  AmazonGlobal                           Home Services                Amazon Web                   Audible                        Box Office
                                                                             Host your own live                Fresh                   Ship Orders                            Experienced Pros             Services                     Listen to Books &              Mojo
                                                                             radio show with                   Groceries &             Internationally                        Happiness                    Scalable Cloud               Original                       Find Movie
                                                                             music you love                    More                                                           Guarantee                    Computing                    Audio                          Box Office
                                                                                                               Right To Your                                                                               Services                     Performances                   Data
                                                                                                               Door

                                                                             Goodreads                         IMDb                    IMDbPro                                Kindle Direct                Amazon Photos                Prime Video                    Shopbop
                                                                             Book reviews                      Movies, TV              Get Info Entertainment                 Publishing                   Unlimited                    Direct                         Designer
                                                                             & recommendations                 & Celebrities           Professionals Need                     Indie Digital &              Photo Storage                Video                          Fashion
                                                                                                                                                                              Print Publishing             Free With                    Distribution                   Brands
                                                                                                                                                                              Made Easy                    Prime                        Made Easy

                                                                             Amazon Warehouse                  Whole Foods             Woot!                                  Zappos                       Ring                         eero WiFi                      Blink
                                                                             Great Deals on                    Market                  Deals and                              Shoes &                      Smart Home                   Stream 4K Video                Smart
                                                                             Quality Used Products             America’s               Shenanigans                            Clothing                     Security                     in Every Room                  Security
                                                                                                               Healthiest                                                                                  Systems                                                     for Every
                                                                                                               Grocery Store                                                                                                                                           Home
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                   Neighbors   Amazon Subscription           PillPack                 Amazon
                   App         Boxes                         Pharmacy                 Renewed
                   Real-Time   Top subscription boxes        Simplified               Like-new
                   Crime       – right to your door                                   products
                   & Safety                                                           you can trust
                   Alerts



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              Second Webpage Showing Sale of
                 Infringing Product Type 2
                                   Case 2:23-cv-02000-WSS                                                                                         Document 11-14                                                            Filed 11/20/23                                      Page 9 of 15



     Skip to main content   Delivering to Albany 12201
                                                                All
                                                                                                                                                                                                                                                                                                           Hello, sign in           Returns            0
                            Update location                                                                                                                                                                                                                                                    EN          Account & Lists          & Orders               Cart

         All    Holiday Deals     Medical Care            Best Sellers       Amazon Basics                 Prime             Registry   New Releases       Today's Deals               Customer Service           Music   Whole Foods      Books     Fashion   Amazon Home          Pharmacy            Gift Cards               Join Prime today for deals

      Amazon Home               Shop by Room                              Discover                                     Shop by Style                    Home Décor                                    Furniture                   Kitchen & Dining                 Bed & Bath                              Garden & Outdoor                   Home Improvement




                                                                                                                                                                                                                                                                                                                                                      Sponsored
                                   Home & Kitchen › Storage & Organization           ›   Home Storage Hooks        ›    Utility Hooks


                                                                                                                                                       BESARME 30 Pack Purse Hanger for Closet, Purse Hooks
                                                                                                                                                       Organizer Unique Twist Design Bag Hanger Hooks S                                                                         Enjoy fast, FREE delivery,
                                                                                                                                                                                                                                                                                exclusive deals and award-
                                                                                                                                                       Hooks for Hanging Handbags Purses Belts Scarves Hats                                                                     winning movies & TV shows
                                                                                                                                                       Clothes 3.5Inch(Black)                                                                                                   with Prime
                                                                                                                                                       Brand: BESARME                                                                                                           Try Prime and start saving today
                                                                                                                                                       4.6                               54 ratings                                                                             with Fast, FREE Delivery

                                                                                                                                                       -9%       $
                                                                                                                                                                     19     99   (   $0.67 / Count)
                                                                                                                                                                                                                                                                                $
                                                                                                                                                                                                                                                                                    19    99 ( $0.67 / Count)
                                                                                                                                                       List Price: $21.99
                                                                                                                                                                                                                                                                                Get Fast, Free Shipping with
                                                                                                                                                       Get Fast, Free Shipping with Amazon Prime
                                                                                                                                                                                                                                                                                Amazon Prime
                                                                                                                                                       FREE Returns
                                                                                                                                                                                                                                                                                FREE Returns
                                                                                                                                                              Best price
                                                                                                                                                                                                                                                                                FREE delivery Sunday,
                                                                                                                                                                                                                                                                                November 19 on orders shipped
                                                                                                                                                       Get a $60 gift card instantly: Pay $0.00 $19.99 upon approval for the Amazon Store Card. Find out                        by Amazon over $35
                                                                                                                                                       how
                                                                                                                                                                                                                                                                                Or fastest delivery Thursday,
                                                                                                                                                       Color: Black                                                                                                             November 16 Order within 11
                                                                                                                                                                                                                                                                                                    .


                                                                         Roll over image to zoom in                                                                                                                                                                             hrs 27 mins
                                                                                                                                                                                                                                                                                     Delivering to Albany 12201 -
                                                                                                                                                                                                                                                                                     Update location
                                                                                                                                                       Size: 30 Pack

Infringing Product                                                                                                                        VIDEO
                                                                                                                                                         15 Pack            30 Pack                                                                                             In Stock
                                                                                                                                                                                                                                                                                Qty:
                                                                                                                                                                                                                                                                                 Qty: 1

      Type 2
                                                                                                                                                       Color                                  Black
                                                                                                                                                       Material                               Stainless Steel, Metal                                                                           Add to Cart
                                                                                                                                                       Brand                                  BESARME
                                                                                                                                                                                                                                                                                                  Buy Now
                                                                                                                                                       Item Weight                            30 Grams
                                                                                                                                                       Mounting Type                          Hanging                                                                           Ships from  Amazon
                                                                                                                                                                                                                                                                                Sold by     zhangheting
                                                                                                                                                                                                                                                                                Returns     Returnable until Jan 31,
                                                                                                                                                       About this item
                                                                                                                                                                                                                                                                                            2024
                                                                                                                                                           【Sturdy Material】Our purse hooks are made of stainless steel and both ends of the hook are                           Payment     Secure transaction
                                                                                                                                                           covered with soft rubber, hard and sturdy, not easy to be damaged or deformed and there is no                        Packaging
                                                                                                                                                                                                                                                                                   See more Shows what's inside
                                                                                                                                                           need to worry about rust when using outdoors. All the bag hooks are coated with a rubber tip
                                                                                                                                                           on the ends to protect your handbag straps.                                                                               Add a gift receipt for easy
                                                                                                                                                           【Unique Space-saving Design】We improved the classical regular S hook and twisted it it 90°,                               returns
                                                                                                                                                           let your handbag be better displayed. These purse hooks are perfect to give the correct
                                                                                                                                                           orientation to hang well, save more spaces to store more bags in your closet also you will choose                        Add to List
                                                                                                                                                           and organize handbags more convenient.
                                                                                                                                                           【Large Size Purse Hanger】Each package including 30packs black handbag hangers. H - 4.5
                                                                                                                                                           inches, W - 1.6 inches, it fits all closet rods less than 1.6inches. Each wallet hanger weight 30g,
                                                                                                                                                           light and portable, but strong enough to hold items up to 5kg.
                                                                                                                                                           【Widely Applications】These purse hooks can be used for many things, it can also be used to
                                                                                                                                                           organize various clothing accessories or tools, display plants or organize kitchen utensils, tidy
                                                                                                                                                           your various accessories or tools such as handbags, belts, ties, jeans, tops, boots, scarves, plants,
                                                                                                                                                           pots and pans, wind chimes, bird feeders and more for indoor and outdoor use. It is your perfect
                                                                                                                                                           space saving helper.
                                                                                                                                                           【Easy to Use】Not require to use nails, screws, or adhesives, our handbag hooks are easy to
                                                                                                                                                           hang on existing objects. Great for hanging bags to keep your handbag in perfect shape.
                                                                                                                                                        › See more product details


                                                                                                                                                       Customer ratings by feature
                                                                                                                                                                                                                                                                                                                     Sponsored
                                                                                                                                                       Easy to use                                                        5.0
                                                                                                                                                       Sturdiness                                                         5.0
                                                                                                                                                       Value for money                                                    5.0
                                                                                                                                                       See all reviews




                                                                                                                                                        Sponsored



                                   Frequently bought together


                                                                                                                                                    Total price: $27.46
                                                                                 +                                                                     Add both to Cart



                                                                                                                                              These items are shipped from and sold by
                                                                                                                                              different sellers.
                                    This item: BESARME 30 Pack                           Evob 30 Pack Black S Hooks Steel                     Show details
                                    Purse Hanger for Closet, Purse                       S Hanging Hooks Heavy Duty S
                                    Hooks Organizer Unique Twist                         Hanger Hook Metal Kitchen Pot
                                    $
                                        19 99 ($0.67/Count)                              $
                                                                                             7 47 ($0.25/Count)
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4 stars and above                                                                                                                                                                                                               Page 1 of 42
Sponsored




            ZEDODIER 14 Pack Purse           12 Pack 4-1/2 Inch S              Fitnice 10 Pack Purse        Myfolrena Purse Hangers    FSAH 17 Pcs S Hooks for       HiGift 8 Pack Purse              LLPJS Aluminum S
            Hooks for Closet,                Hooks for Hanging,                Hanger for Closet, S         Bag Hooks Closet- 12       Hanging Safety Buckle,        Hanger for Closet,               Hooks for Hang Shower
            Backpack Hanger Bag              Large Vinyl Coated                Hooks for Hanging            Pack Handbag Hanger        3.5 Inch Stainless Steel S    Unique Twist Design              Curtain, Hanging Kitchen
            Holder, Closet Accesso...        Closet S Hooks Non…               Twisted Purse Hooks…         Organizer Metal S ...      Shaped Lo...                  Bags Hanger Hooks,…              Pot and Pans, Coffe...
                          100                             296                                184                         227                         519                           457                             2,106
            $7.99   ($0.57/Count)            $9.99      ($0.83/Count)          $9.99   ($1.00/Count)        $9.99                      $6.99    ($0.41/Count)        $7.99                            $8.99    ($0.75/Count)




Products related to this item                                                                                                                                                                                                   Page 1 of 35
Sponsored




            CTOHN 20 Pack Purse              Purse Hangers 16 Pack             Purse Hanger for Closet,     ZOENHOU 24 Pack Black      FSAH 17 Pcs S Hooks for       BCISIWOS Purse Hanger            CertBuy 20 Pack Purse
            Hanger for Closet,               Bag Hooks, Twist Shape            Unique Twist Design Bag      Purse Hangers for          Hanging Safety Buckle,        for Closet, 10 Pack              Hanger for Closet, 4.5"
            Unique Twist Design Bag          Purse Hooks for Closet,           Hanger Purse Hooks,          Closet, Twist Design S     3.5 Inch Stainless Steel S    Handbag Hanger                   Unique Twist Design Bag
            Hanger Purse Hooks, ...          Large Size Clo...                 Large Size Clo...            Hooks Purse Organize...    Shaped Lo...                  Organizer Unique…                Hanger Purse ...
                         17                                42                                37             $13.99                                   519                           30                              1
            $9.98   ($0.50/Count)            $11.99                            $9.99   ($0.83/Count)                                   $6.99    ($0.41/Count)        $6.99                            $15.99


Product Description




                                          Are you always troubled by the bag being not being placed neatly?
                                          Our purse hooks may be of great help to you!
                                          It's hard   to say no to a neat closet!
                                             Saving more space to store more bags in your closet.




                                        Easy to Use
                                          Not require to use tools, nails, screws, or adhesives, our handbag hooks are easy to hang on existing objects. Great for hanging handbags to keep them in
                                          perfect shape.

                                        ►About Our Products
                                        Material: High quality stainless steel material with rubber coated on surface.
                                        ►Why Choose Us
                                        ✔Thoughtful rubber cover design, no need to worry about rusting even in outdoor use.
                                        ✔Hard and sturdy, not easily damaged or deformed.
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                                       Unique Twist Design for Better                              More Than Just A Purse Hanger                          Wide range of uses
                                       Organized
                                                                                                     It can also be used to organize various                 For hanging pots and pans, cups, bird
                                          These hangers are perfect for providing a                  clothing accessories or tools, as well as               feeders, birdhouses, display plants,
                                          suitable orientation for your handbag,                     belts, handbags, ties, jeans, scarves, towels,          flowerpots, or organizing kitchen utensils. It
                                          making it easier to organize and remove                    and so on.                                              is your perfect space-saving helper.
                                          your handbag, keeps your bags neatly
                                          organized!




                                                                                        15 Packs Purse Hanger for Closet                                 30 Packs Purse Hanger for Closet

                                           Unique Space-saving                                          ✓                                                                 ✓
                                                  Design

                                                Sturdy Material                                         ✓                                                                 ✓

                                            Wide range of uses                                          ✓                                                                 ✓




Looking for specific info?



Product information

Technical Details                                                                                                              Additional Information

    Manufacturer                                              ‎BESARME                                                            ASIN                                                      B0BFHHBT38

    Item Weight                                               ‎1.06 ounces                                                        Customer Reviews                                          4.6                      54 ratings
                                                                                                                                                                                            4.6 out of 5 stars
    Package Dimensions                                        ‎6.69 x 4.92 x 2.87 inches
                                                                                                                                  Best Sellers Rank                                         #32,459 in Home & Kitchen     (   See Top 100 in Home
    Size                                                      ‎30 Pack                                                                                                                      & Kitchen )
                                                                                                                                                                                            #177 in Utility Hooks
    Color                                                     ‎Black
                                                                                                                                  Date First Available                                      September 18, 2022
    Style                                                     ‎Classic

    Finish                                                    ‎Stainless Steel                                                 Warranty & Support
    Material                                                  ‎Stainless Steel, Metal                                          Product Warranty: For warranty information about this product, please click here
    Number Of Pieces                                          ‎30                                                              Feedback
    Maximum Weight Capacity                                   ‎5 Kilograms
                                                                                                                               Would you like to tell us about a lower price?
    Mounting Type                                             ‎Hanging

    Special Features                                          ‎Portable

    Batteries Required?                                       ‎No




Videos                                                                                                                                                                                                                                     Page 1 of 3

       Videos for related products




                                                   0:30                                                0:29                                               0:43                                                0:19
                  Must Watch Before Buying! S                Large Size Closet Rod Hooks                                Are these purse hooks gonna                Silver S Hook                                       CTOHN Purse Hangers     for




                  Hooks                                      Fitnice Official                                           keep your purse looking nice?              Lysas                                               JINGWEI-US
                  26Magnolia                                                                                            Colleen Cupp




 Upload your video




Compare with similar items
Case 2:23-cv-02000-WSS                                                                       Document 11-14                                                 Filed 11/20/23                                           Page 12 of 15




                                       This item BESARME 30 Pack Purse            BESARME 15 Pack Purse Hanger            Purse Hanger Purse Organizer for                  Myfolrena Purse Hangers Bag              ZEDODIER 14 Pack Purse Hooks
                                       Hanger for Closet, Purse Hooks             for Closet, Unique Twist Design         Closet,S Hooks Twist Design Bag                   Hooks Closet- 12 Pack Handbag            for Closet, Backpack Hanger Bag
                                       Organizer Unique Twist Design              Bag Hanger Hooks, Purse                 Hanger,Closet Rod Hooks for                       Hanger Organizer Metal S Hooks,          Holder, Closet Accessories
                                       Bag Hanger Hooks S Hooks for               Organizer Hooks for Closet Large        Hanging                                           Large Size Closet Rod Hooks for          Organizer S Hook for Hanging
                                       Hanging Handbags Purses Belts              Closet S Hooks for Hanging              Handbags,Purses,Belts,Scarves,Hat                 Hanging Handbags,Clothes,                Purses, Handbags, Bags, Belts,
                                       Scarves Hats Clothes                       Handbags Purses Clothes(Black)          s,Clothes,Pots and Pans. (8 Pack                  Curtain, Plant, Pans and Pots            Scarves, Hats, Clothes, and Plant,
                                       3.5Inch(Black)                                                                     Black)                                                                                     Silver

                                           Add to Cart                                Add to Cart                             Add to Cart                                       Add to Cart                               Add to Cart



  Customer Rating                                        (54)                                       (314)                                   (439)                                             (229)                                     (100)
  Price                                $
                                           19 99                                  $
                                                                                      9 99                                $
                                                                                                                              8 98                                          $
                                                                                                                                                                                9 99                                 $
                                                                                                                                                                                                                         7 99
  Shipping                             FREE Shipping on orders over               FREE Shipping on orders over            FREE Shipping on orders over                      FREE Shipping on orders over             FREE Shipping on orders over
                                       $35.00 shipped by Amazon or get            $35.00 shipped by Amazon or get         $35.00 shipped by Amazon or get                   $35.00 shipped by Amazon or get          $35.00 shipped by Amazon or get
                                       Fast, Free Shipping with Amazon            Fast, Free Shipping with Amazon         Fast, Free Shipping with Amazon                   Fast, Free Shipping with Amazon          Fast, Free Shipping with Amazon
                                       Prime                                      Prime                                   Prime                                             Prime                                    Prime
  Sold By                              zhangheting                                zhangheting                             NEZA-US                                           Myfolrena Official                       ZEDODIER
  Color                                Black                                      Black                                   Black                                             Silver                                   Silver
  Material                             Stainless Steel, Metal                     Vinyl                                   Metal, Vinyl                                      Stainless Steel, Metal                   Metal




Videos for this product




                                                         0:30
             15 Pack Purse Hanger for Closet, for Better
             Organized
             zhangheting




Important information
    To report an issue with this product, click here        .




Products related to this item                                                                                                                                                                                                                     Page 1 of 20
Sponsored




              Zonon 50 Pack S Shaped               HomeyHandcraft 8 Pack        ZEDODIER 14 Pack Purse       30 Pack S Hooks,3.54 In                CTOHN 20 Pack Purse                 Purse Hangers 16 Pack            FSAH 17 Pcs S Hooks for
              Hooks for Hanging                    6 Inch Rattan S Hooks        Hooks for Closet,            Matte Black Heavy Duty                 Hanger for Closet,                  Bag Hooks, Twist Shape           Hanging Safety Buckle,
              Heavy Duty Mental                    for Hanging, Hangers S       Backpack Hanger Bag          Metal S Hooks Can with                 Unique Twist Design Bag             Purse Hooks for Closet,          3.5 Inch Stainless Steel S
              Ornament S Clip 3.8…                 Shaped Hooks for...          Holder, Closet Accesso...    Stand up to 3...                       Hanger Purse Hooks, ...             Large Size Clo...                Shaped Lo...
                           2                                    33                            100                         2,499                                  17                                   42                               519
              $27.99                               $24.99       ($3.12/Count)   $7.99                        $8.99     ($0.30/Count)                $9.98   ($0.50/Count)               $11.99                           $6.99    ($0.41/Count)


                                                                                                              Save 5% with coupon




                                                                                                                                                                                                         Sponsored

Similar brands on Amazon                                                                                                                                                                                                                              Page 1 of 2
Sponsored
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                  HOME DEPUTY                                                                   SEEBRIDER                                                             TOPIA HANGER
                  Shop the Store on Amazon   ›                                                  Shop the Store on Amazon   ›                                          Shop the Store on Amazon ›




                                    HOME DEPUTY 6 Pack Purse Organizers                                           SEEBRIDER Purse Hanger Closet, Purse                                  TOPIA HANGER Purse Hanger Organizer
                                    for Closet - 6 Bag Hooks - Silver - Purse                                     Holder for Closet Grey Backpack Hanger                                for Closet, 2-Pack Handbag Organizer
                                    Hangers for Closet 511 with Unique Twisted                                    $Hook
                                                                                                                    16 . 99for Organizer Storage Purses Tote                            Hanger, 360°Swivel79     Metal Purse Hooks,
                                    $Hook
                                      12 . 50Design   which
                                                Typical:      Saves Space - Your
                                                          $13.50                                                   Bag Backpacks Handbags(10 Pack)                                      $Bag
                                                                                                                                                                                          9 . 99Rack, Belt Organizer, Tie Rack, Scarf
                                    Handbags Will Look Great in Your Closet                                                                                                             Hanger, Bag Storage Organizer, Silver



                                                                              Top reviews
Customer reviews
                    4.6 out of 5
54 global ratings                                                            Top reviews from the United States

5 star                                       75%                               Translate all reviews to English

4 star                                       16%
                                                                                     PDT1575
3 star                                           7%
                                                                                            Found what I was looking for
2 star                                           3%                          Reviewed in the United States on October 2, 2023
                                                                             Color: Black Size: 30 Pack Verified Purchase
1 star                                           0%
                                                                             Quite versatile and durable. Very convenient for multiple items, including purses, hats, bags, etc..
   How customer reviews and ratings work
                                                                                   Helpful          Report


                                                                                     Ronnette
By feature
                                                                                             Purse hooks
Easy to use                                           5.0                    Reviewed in the United States on August 13, 2023
Sturdiness                                            5.0                    Color: Black Size: 30 Pack Verified Purchase
                                                                             This is a nice sturdy product and works amazing in your closets for multiple item to include purses, hats,
Value for money                                       5.0                    belt etc. would recommend this product. You get the value for your money.
                                                                                          I



                                                                                   Helpful          Report


Review this product                                                                  LK
Share your thoughts with other customers                                                   Best organizer ever
                                                                             Reviewed in the United States on August 31, 2023
              Write a customer review                                        Color: Black Size: 30 Pack Verified Purchase
                                                                             100% worth it to organize a closet. Heavy duty and worth the $
                                                                                   Helpful          Report


                                                                                     Mary gilbert

                                                                                           Works great
                                                                             Reviewed in the United States on September 9, 2023
                                                                             Color: Black Size: 30 Pack Verified Purchase
                                                                             Works great
                                                                                   Helpful          Report


                                                                                     D. Owen

                                                                                           Just what I needed
                                        Sponsored                            Reviewed in the United States on February 15, 2023
                                                                             Color: Black Size: 30 Pack Verified Purchase
                                                                             These S hooks worked great for hanging up my purses to sell. No more taking all of them off the rod to get
                                                                             to one. They also worked great for multiple things to display. I'm going to order more sets so my husband
                                                                             can hang his lights around our trailer when we go camping.
                                                                             Wish they came in Pink is all.
                                                                                   Helpful          Report


                                                                                     Annelis

                                                                                           Wow demasiado práctico y genial.
                                                                             Reviewed in the United States on January 18, 2023
                                                                             Color: Black Size: 30 Pack Verified Purchase
                                                                             Realmente me agradaron estos ganchos, quedaron en la posición perfecta que yo necesitaba para
                                                                             acomodar bolsas y quedaran de lado y bien organizadas. Muchas gracias
                                                                                   Helpful          Report
                                                                             Translate review to English

                                                                                     TQ

                                                                                           Hanging bags
                                                                             Reviewed in the United States on June 1, 2023
                                                                             Color: Black Size: 30 Pack Verified Purchase
                                                                             We used these to hang purses and bags on a hang bar, so they are easy to see. They work great.
                                                                                   Helpful          Report


                                                                             See more reviews
                            Case 2:23-cv-02000-WSS                                                                                     Document 11-14                                                             Filed 11/20/23                                            Page 14 of 15



                              Based on your recent shopping trends                                                                                                                                                                                                                                            Page 1 of 8




                                             BCISIWOS Purse Hanger                    Fitnice 10 Pack Purse                GEZIDEA Purse Hanger S             MEILIDY S Hooks,                        10PCS S Hooks for                   Rivexy 10 Pack Black S              30 Pack S Hooks for
                                             for Closet, 10 Pack                      Hanger for Closet, S                 Hooks Twisted S Hooks              Reversible Black S                      Hanging - Twist Design              Hooks for Hanging                   Hanging, 3.15 inch
                                             Handbag Hanger                           Hooks for Hanging                    Closet Rod Hooks for               Shaped Hooks 3 Inch                     Anti-Drop Stainless Steel           Plants, S Hooks for                 Stainless Steel S Shaped
                                             Organizer Unique   30    Twist           Twisted Purse Hooks                  Handbags,Bags,Clothes,P            Small Heavy Duty                        Metal Hangers Hanging               Hanging Clothes,                    Hooks Curtain Hooks
                                             Design
                                                Save 8%Bag Hanger Purse               Heavy Duty S 184     Hooks           ures,Hats,10Pack                   Stainless Steel S                       Hooks, for Kitchen, Work            Stainless Steel S Hooks             Heavy Duty S Hooks for
                                             $Hooks,
                                               6 . 99   Large    Size Closet          Handbag
                                                                                         Amazon's Hanger
                                                                                                    Choice      in         (Large&90Deg)                      Hanging Hooks107 for Pots               Shop, Bathroom,   409 Garden        Heavy Duty, Durable 4,675     S     Hanging Pots 36and Pans,
                                              Rod Hooks                                                                                  353
                                                       $7.59 for Hanging              OrganizerHooks Space Saving
                                                                                      Utility                                                                 $Pans
                                                                                                                                                                9 . 99Cups Mugs Curtains                 4.2 . 99
                                                                                                                                                                                                      $- 12    inch($3,711.43/Ounce)      $Shaped      Hooks for
                                                                                                                                                                                                                                            4 . 99 ($0.50/Count)              $Plants,
                                                                                                                                                                                                                                                                                12 . 99 Jeans, Clothes,
                                              Typical:
                                              Purses, price
                                              Lowest    Handbags,
                                                                in 30 days            $Closet
                                                                                        9 . 99 Rod    Hooks for
                                                                                                 ($1.00/Count)                                                 Pantsit asPlants
                                                                                                                                                               Get         soon asTools  - 12
                                                                                                                                                                                    Sunday,           Get it as soon as Monday,            Kitchen,
                                                                                                                                                                                                                                           Get          Smallas Tuesday,
                                                                                                                                                                                                                                                it as soon       S Hooks       Jewelry,
                                                                                                                                                                                                                                                                               Get        Towels,
                                                                                                                                                                                                                                                                                   it as soon      Cups
                                                                                                                                                                                                                                                                                              as Sunday,
                                              Clothes,   Plant,as Sunday,
                                              Get it as soon                           Clothes,    Bags,as Monday,
                                                                                       Get it as soon       Plants,                                            Pcs
                                                                                                                                                               Nov 19                                 Nov 20                               for Hanging
                                                                                                                                                                                                                                           Nov   21           Heavy Duty,      (Black)
                                                                                                                                                                                                                                                                               Nov 19
                                              Pots(Black)
                                              Nov 19                                   Pots 20(Black)
                                                                                       Nov                                                                    FREE Shipping on orders over            FREE Shipping on orders over         ClosetShipping
                                                                                                                                                                                                                                           FREE      Hooks on orders over     FREE Shipping on orders over
                                             FREE Shipping on orders over             FREE Shipping on orders over                                            $35 shipped by Amazon                   $35 shipped by Amazon               $35 shipped by Amazon               $35 shipped by Amazon
                                             $35 shipped by Amazon                    $35 shipped by Amazon




                                                                                                                                                                                                                                        Sponsored




Best Sellers in Home & Kitchen                                                                                                                                                                                                                                                                                                                       Page 1 of 6




        Stanley Quencher H2.0                  Bedsure Satin Pillowcase                Queen Size 4 Piece Sheet            Utopia Bedding Throw               BISSELL Little Green                    Bedsure Fleece Bed                Utopia Bedding Queen                Amazon Basics                       Barossa Design Plastic
        FlowState Stainless Steel              for Hair and Skin Queen                 Set - Comfy Breathable              Pillows Insert (Pack of 2,         Multi-Purpose Portable                  Blankets Queen Size               Bed Sheets Set - 4 Piece            Lightweight Super Soft              Shower Liner Clear -
        Vacuum Insulated                       - Silver Grey Silky                     & Cooling Sheets - Hotel            White) - 18 x 18 Inches            Carpet and Upholstery                   Grey - Soft Lightweight           Bedding - Brushed                   Easy Care Microfiber 3-             Premium PEVA Shower
        Tumbler with Lid and                   Pillowcase 20x30 Inches                 Luxury Bed Sheets for               Bed and Couch Pillows -            Cleaner, Car and65,003
                                                                                                                                                                                   Auto               Plush Fuzzy Cozy155,486
                                                                                                                                                                                                                            Luxury      Microfiber - Shrinkage              Piece Bed Sheet Set with            Curtain Liner 48,883  with
        Straw for Water,  30,514
                               Iced Tea        - Set of 2 with296,284
                                                                  Envelope             Women & Men292,228     - Deep                      177,010
                                                                                                                           Indoor Decorative                  Detailer,  with Exclusive
                                                                                                                                                               #1 Best Seller   in Carpet &           Blanket  Microfiber,
                                                                                                                                                                                                       #1 Best Seller   in Bed          and Fade Resistant -                14-Inch Deep Pockets,               Low    returns Grommets
                                                                                                                                                                                                                                                                                                                Rustproof
        or#1 Coffee,  Smoothie
              Best Seller   in Homeand&        Closure,   Similar in toBedSilk
                                                 #1 Best Seller                        Pockets,    Easy-Fit,
                                                                                         #1 Best Seller          Extra &
                                                                                                             in Sheet      Pillows
                                                                                                                            #1 Best Seller in Throw           Specialty Tools,
                                                                                                                                                              Upholstery  CleaningGreen,              90x90 inches
                                                                                                                                                                                                      Blankets                                        161,476Grey)
                                                                                                                                                                                                                                        Easy Care (Queen,                                474,678 Solid
                                                                                                                                                                                                                                                                            Twin, Bright White,                   #1 Best
                                                                                                                                                                                                                                                                                                                and           Seller in Shower
                                                                                                                                                                                                                                                                                                                        3 Magnets,
        More
        Kitchen                                Pillow Pillowcases
                                               Pillow   Cases, Gifts for               Soft & Wrinkle
                                                                                       Pillowcase   Sets Free              Pillow Inserts                     1400B
                                                                                                                                                              Machines                                                                  $ 21 . 95                           $ 15 . 91 ($5.30/Count)             Curtain
                                                                                                                                                                                                                                                                                                                Waterproof  Liners Cute
                                                                                                                                                                                                       48% off    Deal
        $ 35 . 00                              $Women     Men
                                                 6 . 98 ($3.49/Count)                  $Sheets
                                                                                         29 . 99 - White Oeko-Tex          $ 16 . 99 ($8.50/Count)             28% off      Deal                                                        Get it as soon as Sunday,           Get it as soon as Sunday,             8 . 95
                                                                                                                                                                                                                                                                                                                $Lightweight         Standard
                                                                                                                                                                                                      $ 20 . 89
        Get it as soon as Wednesday,           Get it as soon as Sunday,                Bed itSheet
                                                                                        Get    as soonSetas Sunday,        Get it as soon as Sunday,                                                                                    Nov 19                              Nov 19                               Get      as soon asCurtains
                                                                                                                                                                                                                                                                                                                 Size it Shower        Sunday, for
                                                                                                                                                              $ 89 . 00                               List: $39.99
        Nov 22                                 Nov 19                                  Nov 19                              Nov 19                                                                                                       FREE Shipping on orders over        FREE Shipping on orders over         Nov   19
                                                                                                                                                                                                                                                                                                                 Bathroom         - Clear
                                                                                                                                                              List: $123.59                           Get it as soon as Monday,                                                                                 FREE Shipping on orders over
        FREE Shipping by Amazon                FREE Shipping on orders over            FREE Shipping on orders over        FREE Shipping on orders over                                                                                 $35 shipped by Amazon               $35 shipped by Amazon
                                                                                                                                                              Get it as soon as Sunday,               Nov 20                                                                                                    $35 shipped by Amazon
                                               $35 shipped by Amazon                   $35 shipped by Amazon               $35 shipped by Amazon                                                                                            Climate Pledge Friendly            Climate Pledge Friendly
                                                                                                                                                              Nov 19                                  FREE Shipping on orders over
                                                   Climate Pledge Friendly                  Climate Pledge Friendly           Climate Pledge Friendly
                                                                                                                                                              FREE Shipping by Amazon                 $35 shipped by Amazon


Customers who viewed items in your browsing history also viewed                                                                                                                                                                                                                                                                                      Page 1 of 6




        12 Pack Purse Hanger                   Purse Hanger Purse                      Fitnice 10 Pack Purse               ZEDODIER 14 Pack Purse             BESARME 15 Pack Purse                   Myfolrena Purse Hangers           GEZIDEA Purse Hanger S              CTOHN 20 Pack Purse                 MEILIDY S Hooks,
        for Closet,Unique Twist                Organizer for Closet,S                  Hanger for Closet, S                Hooks for Closet,                  Hanger for Closet,                      Bag Hooks Closet- 12              Hooks Twisted S Hooks               Hanger for Closet,                  Reversible Black S
        Design Bag Hanger Purse                Hooks Twist Design Bag                  Hooks for Hanging                   Backpack Hanger Bag                Unique Twist Design Bag                 Pack Handbag Hanger               Closet Rod Hooks for                Unique Twist Design Bag             Shaped Hooks 3 Inch
        Hooks, Large Size Closet               Hanger,Closet Rod                       Twisted Purse Hooks                 Holder, Closet                     Hanger Hooks, Purse                     Organizer Metal S                 Handbags,Bags,Clothes,P             Hanger Purse Hooks,                 Small Heavy Duty
        Rod Hooks for1,307      Hanging        Hooks for Hanging                       Heavy Duty S Hooks                  Accessories Organizer S            Organizer Hooks   314 for               Hooks, Large Size Closet          ures,Hats,10Pack                    Purse Organizer Hooks               Stainless Steel S
        Necklace
           Amazon's Bags,Choice Purses,
                                    in Tie                         439
                                               Handbags,Purses,Belts,S                 Handbag Hanger      184             Hook for Hanging    100            Closet    Large
                                                                                                                                                                 Amazon's       Closetin S
                                                                                                                                                                            Choice                    Rod Hooks for229Hanging           (Large&90Deg)                       for Closet, S Hooks17       for     Hanging Hooks107 for Pots
        Handbags, Belts,
        Racks                                  $carves,Hats,Clothes,Pots
                                                 8 . 98 ($1.12/Count)                  $Organizer       Space Saving
                                                                                         9 . 99 ($1.00/Count)              $Purses,      Handbags, Bags,
                                                                                                                             7 . 99 ($0.57/Count)             Hooks Hooks
                                                                                                                                                              Utility   for Hanging                   $Handbags,Clothes,
                                                                                                                                                                                                        9 . 99                                             353              $Hanging       Handbags
                                                                                                                                                                                                                                                                              9 . 98 ($0.50/Count)              $Pans
                                                                                                                                                                                                                                                                                                                  9 . 99Cups Mugs Curtains
        $Scarves,     Hats,Clothes,
          9 . 69 ($0.81/Count)                  and itPans.
                                                Get    as soon(8 asPack  Black)
                                                                     Sunday,            Closet
                                                                                        Get  it as Rod
                                                                                                    soon Hooks   for
                                                                                                          as Monday,        Belts,it asScarves,
                                                                                                                            Get                  Hats,
                                                                                                                                         soon as Sunday,      $Handbags      Purses
                                                                                                                                                                9 . 99 ($0.67/Count)                   Curtain,
                                                                                                                                                                                                       Get         Plant,as Sunday,
                                                                                                                                                                                                            it as soon       Pans and                                        Purses
                                                                                                                                                                                                                                                                             Get  it as Clothes   Belts
                                                                                                                                                                                                                                                                                         soon as Sunday,         Pantsit asPlants
                                                                                                                                                                                                                                                                                                                 Get         soon asTools  - 12
                                                                                                                                                                                                                                                                                                                                      Sunday,
         Pansit asandsoonPots,
         Get                    Black
                            as Sunday,         Nov 19                                   Clothes,
                                                                                        Nov   20 Bags, Plants,              Clothes,
                                                                                                                            Nov    19 and Plant, Silver        Clothes(Black)
                                                                                                                                                               Get it as soon as Sunday,               Pots
                                                                                                                                                                                                       Nov 19                                                                (Black)
                                                                                                                                                                                                                                                                             Nov 19                              Pcs
                                                                                                                                                                                                                                                                                                                 Nov 19
        Nov 19                                 FREE Shipping on orders over             Pots Shipping
                                                                                        FREE    (Black) on orders over     FREE Shipping on orders over       Nov 19                                  FREE Shipping on orders over                                          FREE Shipping on orders over        FREE Shipping on orders over
        FREE Shipping on orders over           $35 shipped by Amazon                   $35 shipped by Amazon               $35 shipped by Amazon              FREE Shipping on orders over            $35 shipped by Amazon                                                 $35 shipped by Amazon               $35 shipped by Amazon
        $35 shipped by Amazon                                                                                                                                 $35 shipped by Amazon




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